           Case 3:17-cv-00072-NKM-JCH Document 823-26 Filed 08/07/20 Page 1 of 5 Pageid#:
                                             13391



                                                                                       PICK UP DALTILE® FOR
                                                                                       YOUR NEXT JOB


                                                                                                                  STATE



                                                                Hardly peaceful, but no violence as white
                                                                 nationalists, protesters yell in Pikeville

                                                        By Bill Estep
                                                                                                                                                             
                                                        bestep@herald-leader.com

                                                        APRIL 29, 2017 12:42 PM , UPDATED MAY 01, 2017 10:24 AM




White nationalist groups held a rally in downtown Pikeville, Ky., on Saturday. Antifa and other protesters met them on the streets. BY ALEX SLITZ



                                                                 Listen to this article now
                                                                 06:07     Powered by Trinity Audio


                                                        PIKEVILLE

                                                        Despite fears of violence, white nationalists and opponents exchanged only words at
                                                        a rally in downtown Pikeville on Saturday as a heavy police presence and metal
                                                        barricades kept the two sides separated.

                                                        At the height of the rally, there were about 125 white nationalists on one side of
                                                        Main Street in an enclosure beside the historic Pike County courthouse and about
                                                        200 opponents on the opposite side of the street behind barriers set up along the
                                                        sidewalk.



                                                        A line of local and state police officers stood nearly shoulder-to-shoulder in the
                                                        street between the two sides as they screamed at each other in the 90-degree heat.
                                                        TOP ARTICLES
Case 3:17-cv-00072-NKM-JCH Document 823-26 Filed 08/07/20 Page 2 of 5 Pageid#:
                                  13392




                                     00:06 / 00:15




                                                                                                SKIP AD




                 The white nationalists hoped to recruit members with a message of help for working
                 people in a place where the economy has been hurt by a sharp drop in coal jobs, but
                 they spent more time condemning their opponents for trying to shout them down.

                 “We see the forces of degeneracy!” Jeff Schoep, commander of the National Socialist
                 Movement, yelled as he looked across the street at the protesters.


                 Breaking news & more
                 Sign up for one of our many newsletters to be the
                 first to know when big news breaks

                   SIGN UP


                 A man with him, who refused to identify himself, shouted, “The white man built this
                 country!”

                 For their part, the protesters hooted on plastic horns, blew whistles, hollered “Shut
                 the --- up” and chanted slogans such as “Punch a Nazi in the face! Every nation,
                 every race!”

                 One held a sign with a picture of Adolph Hitler shooting himself in the head, with the
                 words “Follow your leader,” while another had a sign that said “White People — we
                 don’t own this country.”

                 There was so much noise during the rally that it was difficult to understand either
                 side at times.

                 After about an hour of speeches, the white nationalists left the courthouse and
                 headed to their cars.


                 Local news has never
                 been more important
                 Subscribe for unlimited digital access to the news
                 that matters to your community.

                   #READLOCAL


                 The opponents, who call themselves anti-racists or anti-fascists, followed them down
                 the street to a spot where there were no barriers.

                 Police formed a line between the sides, and about 40 heavily armed state police
                 officers in riot gear, who had been in waiting during the rally, moved in to make
                 sure there was no violence.

                 A beefy sheriff’s deputy moved up and down the line of police, telling officers to
                 arrest anyone who tried to cross.

                 Donovan Blackburn, city manager in Pikeville, said there were three arrests during
                 the rally. All three who were arrested were associated with the protest against the
                 white nationalists.


                 The event had been in the offing since February, when the Traditionalist Worker
                 Party announced it would hold a rally in town. Other groups, including the National
                 Socialist Movement and the League of the South, announced plans to take part.

                 White nationalists noted at the time that the community was overwhelmingly white
                 and that Donald Trump carried Pike County by a wide margin.
Case 3:17-cv-00072-NKM-JCH Document 823-26 Filed 08/07/20 Page 3 of 5 Pageid#:
                                                      13393
                  They said they hoped their message of standing up for white working families could
                     gain traction in the area.

                     “We know how devastated it was down here,” Butch Urban, an officer with the
                     National Socialist Movement, told the Herald-Leader.

                     The TWP and the NSM include economic measures in their platforms that could
                     appeal to struggling working people, but they are wrapped around a core of racism.

                     The Traditionalist Worker Party “advocates for racially pure nations and
                     communities and blames Jews for many of the world’s problems,” while the National
                     Socialist Movement is “notable for its violent anti-Jewish rhetoric” and racist views,
                     according to the Southern Poverty Law Center, which labels both as hate groups.

                     The website of the NSM says that “only those of pure White blood, whatever their
                     creed, may be members of the nation,” and that all non-white immigration must be
                     prevented.

                     The League of the South, which also took part in the rally, is a neo-Confederate group
                     that advocates for a second Southern secession and a society dominated by
                     “European Americans,” meaning whites, according to the Southern Poverty Law
                     Center.

                     Many people in Pikeville resented the fact that the white nationalists chose their city
                     for the rally, saying few in town would agree with their ideology.

                     Concern grew in town as the rally approached because of information that
                     opponents of the white nationalists would show up in force and there would be a
                     violent confrontation, as there has been elsewhere.

                     When the Traditionalist Worker Party held a rally at the state capitol in California in
                     June 2016, protesters clashed with the white nationalists and 10 people were hurt in
                     the fighting, the New York Times reported.

                     A white nationalist leader said there had been social media chatter among
                     opponents about needing to raise money for bail and medical expenses.

                     Prestonsburg attorney Ned Pillersdorf, who was at the rally, said a lawyers’ group
                     had asked him to be ready to represent protesters if they were arrested.

                     Local residents canceled a rally for equality — initially scheduled at the same time
                     as the white nationalist rally — out of concern over safety, and University of
                     Pikeville President Burton Webb said if parents of students were concerned, they
                     should have their children leave town.

                     Most businesses downtown remained closed Saturday because of concerns about the
                     rally, and the county courthouse, which usually is open until noon, was closed.

                     “Everyone’s anxious — don’t know what to expect,” Blackburn said Saturday before
                     the rally was scheduled to start at 2 p.m.

                     The protesters began gathering before the white nationalists.

                     The protesters said they felt it was important to counter the white nationalists’ racist
                     message, said Daryle Lamont Jenkins, who had come from Philadelphia for the
                     demonstration.

                     “If they see no opposition, they think their work is going to be a lot easier,” Jenkins
                     said.

                     The protesters had been yelling at a handful of people in the white nationalist
                     enclosure for more than an hour when the main contingent of Traditionalist Worker
                     Party and the National Socialist Movement members parked a block away and
                     marched three abreast to the rally site at 3 p.m., carrying U.S., Confederate and
                     organization flags.

                     They also carried a large banner that said “Diversity = White Genocide.” Several
                     were armed with pistols in holsters on their hips, and a man carrying a shotgun was
                     guarding them.

                     Their entrance set off the yelling anew, with each side taunting the other to cross
                     over the barriers.

                     “We are the shock troops for the white race!” Schoep yelled at protesters, while they
                     shouted back.

                     Matthew Heimbach, head of the Traditionalist Worker Party, touched on poverty and
                     drug problems in the area and his group’s economic ideology.

                     “The working class bleeds and the bankers make money,” he said.

                     Each side left town after the rally.
Case 3:17-cv-00072-NKM-JCH Document 823-26 Filed 08/07/20 Page 4 of 5 Pageid#:
                                  13394
     Local news has never been                                                                                 Subscribe for unlimited digital access to the
                                                                                                               news that matters to your community.

     more important                                                                                              #READLOCAL

     #ReadLocal



                                                           BUSINESS                                               KENTUCKY


                                                          FBI: Multiple groups                                   FBI takes lead role in search
                                                          involved in Ohio $60M                                  for missing Kentucky
                                                          corruption scheme                                      woman



      CRIME


     Boyfriend’s family land searched as
     FBI takes lead in disappearance of
     Crystal Rogers
     UPDATED 3 HOURS 1 MINUTE AGO                         AUGUST 06, 2020 12:34 PM                               AUGUST 06, 2020 11:03 AM




      KENTUCKY


     Father charged in crash that
     killed daughter




                                                           LATEST NEWS                                            SPONSORED CONTENT


                                                          Dollar General plans to add                            Simple Method Ends Neuropathy -
                                                          distribution centers in Kentucky                       Try It (It's Genius!) 
     AUGUST 06, 2020 10:52 AM                             UPDATED 5 HOURS 53 MINUTES AGO                         BY NERVE SHIELD




     Take Us With You

     Real-time updates and all local stories you want
     right in the palm of your hand.


              LEXINGTON HERALD LEADER APP        ➔

              VIEW NEWSLETTERS    ➔




     SUBSCRIPTIONS                                       LEARN MORE                                           ADVERTISING

     Start a Subscription                                About Us                                             Contact Advertising

     Customer Service                                    Contact Us                                           Place a Classified Ad

     eEdition                                            Newsletters                                          Digital Solutions

     Vacation Hold                                       News in Education                                    Media Kit
     Pay Your Bill                                       Archives


                                                        COPYRIGHT      PRIVACY POLICY      TERMS OF SERVICE
           Case 3:17-cv-00072-NKM-JCH Document 823-26 Filed 08/07/20 Page 5 of 5 Pageid#:
                                                                  13395
                             Blackburn, the city manager, said he was relieved that there was no violence.

                                                      He said authorities had done a great job planning for security at the event and
                                                      putting the plan into action, making sure each side got to exercise its rights while
                                                      also keeping the city safe.

                                                      Rob Musick, who pastors the Prestonsburg Presbyterian Church and came to the
                                                      rally, where he tried to witness to white nationalists, said he didn’t think the yelling
                                                      ultimately changed any minds on either side of the street.

                                                      “It was an exercise in foolishness,” Musick said. “It just ruined a lot of people’s
                                                      Saturday.”

                                                            Several businesses in downtown Pikeville closed today because of white
                                                            nationalist rally and potential protest. Downtown virtually empty.
                                                            pic.twitter.com/aYUmTPd9m1

                                                            &mdash; Bill Estep (@billestep1) April 29, 2017

                                                      Bill Estep: 606-678-4655, @billestep1




       1 of 32


John Holderfield of Birmingham, Ala., a member of the Global Crusaders Order of the Ku Klux Klan, shouted at anti-fascists and other protesters. ALEX SLITZ ASLITZ@HERALD-LEADER.COM


                                                       COMMENTS 




                                                           READ NEXT                                                                         TRENDING STORIES


                                                                                                               ‘This world just isn’t fair.’ UK golfer dies less than a year
                                                                                                               after cancer diagnosis.
                                                                                                               UPDATED AUGUST 05, 2020 03:25 PM



                                                                                                               ‘A really hard August.’ 700 new Kentucky coronavirus
                                                                                                               cases and 7 deaths.
                                                                                                               UPDATED AUGUST 04, 2020 05:23 PM



                                                                                                               Clusters of coronavirus linked to Kentucky church,
                                                                                                               sheriff’s office
                                                                                                               AUGUST 04, 2020 9:32 PM

                          KENTUCKY

                                                                                                               Boyfriend’s family land searched as FBI takes lead in
                         Report: KY mayor’s son double-                                                        disappearance of Crystal Rogers
                         billed for work as city contractor,                                                   UPDATED 3 HOURS 1 MINUTE AGO


                         agency head
                                                                                                               SEC basketball a big winner this week, and another
                         BY BILL ESTEP
                                                                                                               prediction on Olivier Sarr’s status
                         AUGUST 06, 2020 11:54 AM , UPDATED 1 HOUR 7 MINUTES AGO
                                                                                                               AUGUST 05, 2020 7:41 AM

                                                                      
                         An examination found a Kentucky city that calls itself the Gateway to
                         Appalachia spent money from a tourism tax on unrelated items and
                         that the mayor’s son duplicate-billed for work for the city.
                         KEEP READING    ➔
